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                   United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                       TEL. 504-310-7700
CLERK                                                            600 S. MAESTRI PLACE,
                                                                         Suite 115
                                                                NEW ORLEANS, LA 70130

                               May 02, 2023


Mr. Davor Rukavina
Munsch Hardt Kopf & Harr, P.C.
500 N. Akard Street
Ross Tower
Suite 3800
Dallas, TX 75201-6659

      No. 23-90013       NexPoint Advisors v. Highland Capital
                         USDC No. 19-34054


Dear Mr. Rukavina,
We have docketed the motion for permission to appeal, and ask you
to use the case number above in future inquiries.
All counsel who desire to appear in this case must electronically
file a "Form for Appearance of Counsel" naming all parties
represented within 14 days from this date, see Fed. R. App. P. 12(b)
and 5th Cir. R. 12.     This form is available on our website
www.ca5.uscourts.gov.   Failure to electronically file this form
will result in removing your name from our docket. Pro se parties
are not required to file appearance forms.
ATTENTION ATTORNEYS: Attorneys are required to be a member of the
Fifth Circuit Bar and to register for Electronic Case Filing. The
"Application and Oath for Admission" form can be printed or
downloaded from the Fifth Circuit’s website, www.ca5.uscourts.gov.
Information   on   Electronic   Case   Filing   is  available   at
www.ca5.uscourts.gov/cmecf/.
ATTENTION ATTORNEYS: Direct access to the electronic record on
appeal (EROA) for pending appeals will be enabled by the U S
District Court on a per case basis. Counsel can expect to receive
notice once access to the EROA is available.      Counsel must be
approved for electronic filing and must be listed in the case as
attorney of record before access will be authorized. Instructions
for accessing and downloading the EROA can be found on our website
at                      http://www.ca5.uscourts.gov/docs/default-
source/forms/instructions-for-electronic-record-download-
feature-of-cm. Additionally, a link to the instructions will be
included in the notice you receive from the district court.
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Sealed documents, except for the presentence investigation report
in criminal appeals, will not be included in the EROA. Access to
sealed documents will continue to be provided by the district court
only upon the filing and granting of a motion to view same in this
court.
We recommend that you visit the Fifth Circuit’s website,
www.ca5.uscourts.gov and review material that will assist you
during the appeal process. We especially call to your attention
the Practitioner’s Guide and the 5th Circuit Appeal Flow Chart,
located in the Forms, Fees, and Guides tab.
ATTENTION: If you are filing Pro Se (without a lawyer) you can
request to receive correspondence from the court and other parties
by email and can also request to file pleadings through the court’s
electronic filing systems. Details explaining how you can request
this   are   available    on   the   Fifth   Circuit   website   at
http://www.ca5.uscourts.gov/docs/default-source/forms/pro-se-
filer-instructions. This is not available for any pro se serving
in confinement.
Special guidance regarding filing certain documents:
General Order No. 2021-1, dated January 15, 2021, requires parties
to file in paper highly sensitive documents (HSD) that would
ordinarily be filed under seal in CM/ECF. This includes documents
likely to be of interest to the intelligence service of a foreign
government and whose use or disclosure by a hostile foreign
government would likely cause significant harm to the United States
or its interests. Before uploading any matter as a sealed filing,
ensure it has not been designated as HSD by a district court and
does not qualify as HSD under General Order No. 2021-1.
A party seeking to designate a document as highly sensitive in the
first instance or to change its designation as HSD must do so by
motion. Parties are required to contact the Clerk’s office for
guidance before filing such motions.
Sealing Documents on Appeal: Our court has a strong presumption
of public access to our court’s records, and the court scrutinizes
any request by a party to seal pleadings, record excerpts, or other
documents on our court docket.     Counsel moving to seal matters
must explain in particularity the necessity for sealing in our
court. Counsel do not satisfy this burden by simply stating that
the originating court sealed the matter, as the circumstances that
justified sealing in the originating court may have changed or may
not apply in an appellate proceeding.     It is the obligation of
counsel to justify a request to file under seal, just as it is
their obligation to notify the court whenever sealing is no longer
necessary.    An unopposed motion to seal does not obviate a
counsel’s obligation to justify the motion to seal.
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                                 Sincerely,
                                 LYLE W. CAYCE, Clerk



                                 By: _________________________
                                 Melissa V. Mattingly, Deputy Clerk
                                 504-310-7719
cc:
      Mr. Robert P. Colwell
      Mr. Jeffrey N. Pomerantz
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Provided below is the court’s official caption. Please review the
parties listed and advise the court immediately of any
discrepancies. If you are required to file an appearance form, a
complete list of the parties should be listed on the form exactly
as they are listed on the caption.

                                 _________

                           Case No. 23-90013
                                 _________

In the Matter of Highland Capital Management, L.P.
                       Debtor
NexPoint Advisors, L.P.; Highland Capital Management Fund
Advisors, L.P., now known as NexPoint Asset Management, L.P.,
                       Petitioners
v.
Highland Capital Management, L.P.,
                       Respondent
